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                      COMPOSITE EXHIBIT A
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             FORM 1.997.        CIVIL COVER SHEET

             The civil cover sheet and the information contained in it neither replace nor supplement the filing
             and service of pleadings or other documents as required by law. This form must be filed by the
             plaintiff or petitioner with the Clerk of Court for the purpose of reporting uniform data pursuant
             to section 25.075, Florida Statutes. (See instructions for completion.)


                     I.      CASE STYLE

                      IN THE CIRCUIT/COUNTY COURT OF THE THIRTEENTH JUDICIAL CIRCUIT,
                               IN AND FOR HILLSBOROUGH COUNTY, FLORIDA

             SARA FARDI
             Plaintiff                                                                Case #
                                                                                      Judge
             vs.
            MENZIES AVIATION (USA) INC
             Defendant



                     II.     AMOUNT OF CLAIM
            Please indicate the estimated amount of the claim, rounded to the nearest dollar. The estimated amount of
            the claim is requested for data collection and clerical processing purposes only. The amount of the claim
            shall not be used for any other purpose.

             ☐ $8,000 or less
             ☐ $8,001 - $30,000
             ☐ $30,001- $50,000
             ☐ $50,001- $75,000
             ☐ $75,001 - $100,000
             ☒ over $100,000.00

                     III.    TYPE OF CASE           (If the case fits more than one type of case, select the most
             definitive category.) If the most descriptive label is a subcategory (is indented under a broader
             category), place an x on both the main category and subcategory lines.




                                                               -1-

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             CIRCUIT CIVIL

             ☐ Condominium
             ☐ Contracts and indebtedness
             ☐ Eminent domain
             ☐ Auto negligence
             ☐ Negligence—other
                    ☐ Business governance
                    ☐ Business torts
                    ☐ Environmental/Toxic tort
                    ☐ Third party indemnification
                    ☐ Construction defect
                    ☐ Mass tort
                    ☐ Negligent security
                    ☐ Nursing home negligence
                    ☐ Premises liability—commercial
                    ☐ Premises liability—residential
             ☐ Products liability
             ☐ Real Property/Mortgage foreclosure
                   ☐ Commercial foreclosure
                   ☐ Homestead residential foreclosure
                   ☐ Non-homestead residential foreclosure
                   ☐ Other real property actions

             ☐Professional malpractice
                   ☐ Malpractice—business
                   ☐ Malpractice—medical
                   ☐ Malpractice—other professional
             ☒ Other
                   ☐ Antitrust/Trade regulation
                   ☐ Business transactions
                   ☐ Constitutional challenge—statute or ordinance
                   ☐ Constitutional challenge—proposed amendment
                   ☐ Corporate trusts
                   ☒ Discrimination—employment or other
                   ☐ Insurance claims
                   ☐ Intellectual property
                   ☐ Libel/Slander
                   ☐ Shareholder derivative action
                   ☐ Securities litigation
                   ☐ Trade secrets
                   ☐ Trust litigation


             COUNTY CIVIL

             ☐ Small Claims up to $8,000
             ☐ Civil
             ☐ Real property/Mortgage foreclosure
                                                             -2-

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             ☐ Replevins
             ☐ Evictions
                   ☐ Residential Evictions
                   ☐ Non-residential Evictions
             ☐ Other civil (non-monetary)

                                                  COMPLEX BUSINESS COURT

            This action is appropriate for assignment to Complex Business Court as delineated and mandated by the
            Administrative Order. Yes ☐ No ☒

                     IV.   REMEDIES SOUGHT (check all that apply):
                     ☒ Monetary;
                     ☒ Nonmonetary declaratory or injunctive relief;
                     ☒ Punitive

                     V.     NUMBER OF CAUSES OF ACTION: [ ]
                     (Specify)

                       5

                     VI.     IS THIS CASE A CLASS ACTION LAWSUIT?
                             ☐ yes
                             ☒ no

                     VII.    HAS NOTICE OF ANY KNOWN RELATED CASE BEEN FILED?
                             ☒ no
                             ☐ yes If “yes,” list all related cases by name, case number, and court.


                     VIII. IS JURY TRIAL DEMANDED IN COMPLAINT?
                           ☒ yes
                           ☐ no


                     IX.     DOES THIS CASE INVOLVE ALLEGATIONS OF SEXUAL ABUSE?
                             ☐ yes
                             ☒ no


             I CERTIFY that the information I have provided in this cover sheet is accurate to the best of
             my knowledge and belief, and that I have read and will comply with the requirements of
             Florida Rule of Judicial Administration 2.425.

             Signature: s/ Daniel Harrison Hunt                     Fla. Bar # 121247
                            Attorney or party                                      (Bar # if attorney)

            Daniel Harrison Hunt                             12/04/2023
             (type or print name)                            Date

                                                             -3-

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                                                                     IN THE CIRCUIT COURT FOR THE
                                                                     13TH JUDICIAL CIRCUIT IN AND FOR
                                                                     HILLSBOROUGH COUNTY, FLORIDA

             SARA FARDI,

                      Plaintiff,

             v.                                                      CASE NO.:

             MENZIES AVIATION (USA) INC.,
             a Foreign Profit Corporation

                   Defendants.
             ______________________________________/

                                                         COMPLAINT

                      The Plaintiff, SARA FARDI (hereinafter “Plaintiff”), by and through the undersigned

             counsel, hereby sues Defendant, MENZIES AVCIATION (USA) INC., (hereinafter

             “Defendant”), and in support states as follows:

                                                JURISDICTION AND VENUE

                     1.       This is an action by the Plaintiff for damages exceeding $30,000, excluding

                  attorney fees or costs, pursuant to the Florida Civil Rights Act of 1992, Florida Statutes, Chapter

                  760, et seq. ("FCRA") and the Civil Rights Act of 1866, 42 U.S.C. §1981 (“§ 1981”) to redress

                  injuries resulting from Defendants unlawful, discriminatory treatment of Plaintiff based on

                  National Origin and Race.

                     2.        This Court has jurisdiction of the claims herein pursuant to 42 U.S.C. §1981.

                     3.       The venue of this action is properly placed in Hillsborough County because the

                  Defendant operates an airline where Plaintiff worked in Tampa, FL with a principal address in

                  Hillsborough County and some of the events/employment practices hereafter alleged to be




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                unlawful were committed in Hillsborough County, within the jurisdiction of this Honorable

                Court.

                   4.         The Defendant is a Foreign Profit Corporation authorized to conduct business in

                the State of Florida and having its main place of business in Hillsborough County, Florida at

                the Tampa Airport.

                   5.         Defendant is a covered employer pursuant to Florida Statutes § 760.02(7) as

                Defendant is and was employing 15 or more employees for each working day in each of 20 or

                more calendar weeks in the current or preceding calendar year.

                   6.         Defendant is also covered under § 1981.

                                                     BACKGROUND

                   7.         Plaintiff is Middle Eastern female [race] of Iranian/Persian [national origin]

                descent.

                   8.         Plaintiff worked for the Employer from November 8, 2022 through December 30,

                2022 as a customer service agent earning $15 per hour and working 40 hours per week.

                   9.         Darren, LNU, made multiple comments over the course of a few weeks in

                December of 2022 including that my people were terrorists and that additional security checks

                are needed for Iranian/Persion individuals.

                   10.        He made multiple comments and I reported this to Julia Moreno and was told to

                talk to John Vollbrecht.

                   11.        I followed instructions but nothing was done. My harasser continued to embarrass

                me in front of customers and make inappropriate race and national origin based comments.

                   12.        After I complained to my supervisors, my credentials were removed and I was

                terminated.




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                   13.       I was terminated in retaliation for my complaints of race and national origin

                discrimination about a specific co-worker.

                   14.      Defendant failed to care or take any action keeping Darren and terminating me.

                   15.      Plaintiff filed a timely US EEOC Charge of Discrimination with the EEOC and

                concurrently with the Florida Commission on Human Relations on or about February 3, 2023,

                Charge Number 511-2023-01309.

                   16.      A Right to Sue was issued on September 15, 2023 by Tamra Schweiberger and was

                copied to defendant’s representative, Christina Wabiszewski of Foley & Lardner LLP, 777

                Wisconsin Ave, STE 3800, Milwaukee, WI 53202 and as such, Defendant is in possession of

                the charge of discrimination as well as the Notice of Right to Sue.

                   17.      All conditions precedent for the filing of this action before this Court have been

                previously met, including the exhaustion of all pertinent administrative procedures and

                remedies.

                                               COUNT I
                            RACE AND COLOR DISCRIMINATION UNDER THE FCRA

                 18. Plaintiff reasserts her allegations in paragraph 1-17 as if fully set forth herein.

                 19. Section 760.10 of the FCRA states in relevant part:

                    “(1)    It is an unlawful employment practice for an employer:

                            (a)     To discharge or to fail or refuse to hire any individual, or otherwise
                            to discriminate against any individual with respect to compensation, terms,
                            conditions, or privileges of employment, because of such individual’s
                            race, color, religion, sex, national origin, age, handicap, or marital status.”

                  20.       The FCRA accordingly prohibits discrimination based on Race and National

              Origin.




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                  21.       The treatment to which Plaintiff was subjected by Defendant as set forth above

              and incorporated herein, was the result of Plaintiff’s race and color, which individuals outside

              Plaintiff’s class were not and would not have been subjected, in violation of the FCRA.

                  22.       Defendant’s alleged bases for its adverse conduct against Plaintiff and Plaintiff’s

              termination are pretextual and asserted only to cover up the discriminatory nature of its

              conduct.

                  23.       Even if Defendant could assert legitimate reasons for its adverse actions against

              Plaintiff and Plaintiff’s termination, which reasons it does not have, Plaintiff’s race and color

              were a significant motivating factor for Defendant’s adverse conduct toward Plaintiff and

              Plaintiff’s termination.

                  24.       As a result of Defendant’s willful and malicious discriminatory actions as a result

              of his race and Color, Plaintiff has experienced and will continue to experience significant

              financial and economic loss in the form of lost wages and lost benefits. Plaintiff has also

              experienced and will continue to experience emotional anguish, pain and suffering and loss of

              dignity damages. Plaintiff accordingly demands lost economic damages in the form of back

              pay and front pay, interest, lost benefits, and compensatory damages.

                  25.       Plaintiff also requests punitive damages based on Defendant’s intentional, willful,

              wanton and malicious discriminatory conduct.

                  26.       Plaintiff further seeks her attorney’s fees and costs as permitted by law.

                    WHEREFORE, the Plaintiff respectfully requests that this Honorable Court:

                    A. Enter judgment for Plaintiff and against the Defendant on the basis of Defendant’s

                         willful violations of the FCRA; and




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                    B. Award Plaintiff compensatory damages including front pay, back pay, and lost benefits;

                         and

                    C. Award Plaintiff as to this count prejudgment interest; and

                    D. Award Plaintiff damages for the amount of the costs of litigation and filing including

                         attorney’s fees; and

                    E. Grant such other and further equitable relief as this court deems equitable and just

                         and/or available pursuant to Federal Law including punitive damages.

                                              COUNT II
                           NATIONAL ORIGIN DISCRIMINATION UNDER THE FCRA

                 27. Plaintiff reasserts her allegations in paragraph 1-17 as if fully set forth herein.

                 28. Section 760.10 of the FCRA states in relevant part:

                    “(1)       It is an unlawful employment practice for an employer:

                               (a)     To discharge or to fail or refuse to hire any individual, or otherwise
                               to discriminate against any individual with respect to compensation, terms,
                               conditions, or privileges of employment, because of such individual’s
                               race, color, religion, sex, national origin, age, handicap, or marital status.”

                  29.          The FCRA accordingly prohibits discrimination based on National Origin.

                  30.          The treatment to which Plaintiff was subjected by Defendant as set forth above

              and incorporated herein, was the result of Plaintiff’s race and color, which individuals outside

              Plaintiff’s class were not and would not have been subjected, in violation of the FCRA.

                  31.          Defendant’s alleged bases for its adverse conduct against Plaintiff and Plaintiff’s

              termination are pretextual and asserted only to cover up the discriminatory nature of its

              conduct.

                  32.          Even if Defendant could assert legitimate reasons for its adverse actions against

              Plaintiff and Plaintiff’s termination, which reasons it does not have, Plaintiff’s National Origin




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              was a significant motivating factor for Defendant’s adverse conduct toward Plaintiff and

              Plaintiff’s termination.

                  33.         As a result of Defendant’s willful and malicious discriminatory actions as a result

              of his National Origin, Plaintiff has experienced and will continue to experience significant

              financial and economic loss in the form of lost wages and lost benefits. Plaintiff has also

              experienced and will continue to experience emotional anguish, pain and suffering and loss of

              dignity damages. Plaintiff accordingly demands lost economic damages in the form of back

              pay and front pay, interest, lost benefits, and compensatory damages.

                  34.         Plaintiff also requests punitive damages based on Defendant’s intentional, willful,

              wanton and malicious discriminatory conduct.

                  35.         Plaintiff further seeks her attorney’s fees and costs as permitted by law.

                    WHEREFORE, the Plaintiff respectfully requests that this Honorable Court:

                    F. Enter judgment for Plaintiff and against the Defendant on the basis of Defendant’s

                        willful violations of the FCRA; and

                    G. Award Plaintiff compensatory damages including front pay, back pay, and lost benefits;

                        and

                    H. Award Plaintiff as to this count prejudgment interest; and

                    I. Award Plaintiff damages for the amount of the costs of litigation and filing including

                        attorney’s fees; and

                    J. Grant such other and further equitable relief as this court deems equitable and just

                        and/or available pursuant to Federal Law including punitive damages.

                                                     COUNT III
                                            RETALIATION UNDER THE FCRA

                  36.         Plaintiff reasserts her allegations in paragraph 1-17 as if fully set forth herein.




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                  37.       Section 760.10(7) states:

                            “It is an unlawful employment practice for an employer, an employment
                            agency, a joint labor-management committee, or a labor organization to
                            discriminate against any person because that person has opposed any
                            practice which is an unlawful employment practice under this section, or
                            because that person has made a charge, testified, assisted, or participated
                            in any manner in an investigation, proceeding, or hearing under this
                            section.”

                  38.       The FCRA accordingly prohibits retaliation against an employee for reporting

              conduct which would violate the terms of the FCRA.

                  39.       Plaintiff’s complaints of discrimination and disparate treatment were protected

              activities under the FCRA, for which she could not be adversely affected.

                  40.       Defendant’s alleged bases for its adverse conduct against Plaintiff and Plaintiff’s

              termination are pretextual and asserted only to cover up the retaliatory nature of its conduct.

                  41.       Even if Defendant could assert legitimate reasons for its adverse actions against

              Plaintiff and Plaintiff’s termination, which reasons it does not have, Plaintiff’s complaints of

              discrimination were significant motivating factors for Defendant’s adverse conduct toward

              Plaintiff and Plaintiff’s termination.

                  42.       As a result of Defendant’s retaliatory actions, and its willful and malicious

              discharge of Plaintiff’s employment as a result of complaints of discrimination, Plaintiff has

              experienced and will continue to experience significant financial and economic loss in the form

              of lost wages and lost benefits. Plaintiff has also experienced and will continue to experience

              emotional anguish, pain and suffering and loss of dignity damages. Plaintiff accordingly

              demands lost economic damages in the form of back pay and front pay, interest, lost benefits,

              and compensatory damages.




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                  43.       Plaintiff also requests punitive damages based on Defendant’s intentional, willful,

              wanton and malicious retaliatory conduct.

                  44.       Plaintiff further seeks her attorney’s fees and costs as permitted by law.

                    WHEREFORE, the Plaintiff respectfully requests that this Honorable Court:

                         K. Enter judgment for Plaintiff and against the Defendant on the basis of Defendant’s

                             willful violations of the FCRA; and

                         L. Award Plaintiff compensatory damages including front pay, back pay, and lost

                             benefits; and

                         M. Award Plaintiff as to this count prejudgment interest; and

                         N. Award Plaintiff damages for the amount of the costs of litigation and filing

                             including attorney’s fees; and

                         O. Grant such other and further equitable relief as this court deems equitable and just

                             and/or available pursuant to Federal Law including punitive damages.

                                                      COUNT IV
                                   Race Discrimination in Violation of 42 U.S.C. § 1981

                 45. Plaintiff re-adopts each and every factual allegation as stated in paragraphs 1-17 above as

                    if set out in full herein.

                  46.       Plaintiff is a member of a protected class under § 1981.

                  47.       By the conduct describe above, Defendant has engaged in discrimination against

              the Plaintiffs because of Plaintiff’s race and subjected the Plaintiff to race-based animosity.

                  48.       Such discrimination was based upon the Plaintiff’s race in that Plaintiff would not

              have been the object of discrimination but for the fact that Plaintiff is middle eastern or of middle

              eastern descent.

                  49.       Defendant’s conduct complained of herein was willful and in disregard of




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              Plaintiff’s protected rights.       Defendant and its supervisory personnel were aware that

              discrimination on the basis of race was unlawful but acted in reckless disregard of the law.

                  50.          At all times material hereto, the employees exhibiting discriminatory conduct

              towards Plaintiff possessed the authority to affect the terms, conditions, and privileges of

              Plaintiff’s employment with the Defendant.

                  51.          Defendant retained all employees who exhibited discriminatory conduct toward the

              Plaintiff and did so despite the knowledge of said employees engaging in discriminatory actions.

                  52.          As a result of Defendant’s actions, as alleged herein, Plaintiff has been deprived of

              rights, has been exposed to ridicule and embarrassment, and has suffered emotional distress and

              damage.

                  53.          The conduct of Defendant, by and through the conduct of its agents, employees,

              and/or representatives, and the Defendant’s failure to make prompt remedial action to prevent

              continued discrimination against the Plaintiff, deprived the Plaintiff of statutory rights under

              federal law.

                  54.          The actions of the Defendant and/or its agents were willful, wanton, and intentional,

              and with malice or reckless indifference to the Plaintiff’s statutorily protected rights, thus

              entitling Plaintiff to damages in the form of compensatory and punitive damages pursuant to

              federal law, to punish the Defendant for its actions and to deter it, and others, from such action

              in the future.

                  55.          Plaintiff has suffered and will continue to suffer both irreparable injury and

              compensable damages as a result of Defendant’s discriminatory practices unless and until this

              Honorable Court grants relief.

                  56.          So that Plaintiff’s rights may be protected, Plaintiff has retained the undersigned




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              counsel who is entitled to attorney’s fees pursuant to 42 U.S.C. § 1988, the Civil Rights Attorneys

              Fee Award Act.

             WHEREFORE, Plaintiffs respectfully prays for the following relief against Defendant:

                    p. Adjudge and decree that Defendant has violated 42 U.S.C. § 1981, and has done so

                          willfully, intentionally, and with reckless disregard for Plaintiff’s rights;

                    q. Enter a judgment requiring that Defendant pay Plaintiff appropriate back pay, benefits'

                          adjustment, and prejudgment interest at amounts to be proved at trial for the unlawful

                          employment practices described herein;

                    r. Enter an award against Defendant and award Plaintiff compensatory damages for

                          mental anguish, personal suffering, and loss of enjoyment of life;

                    s. Require Defendant to reinstate Plaintiffs to the position at the rate of pay and with the

                          full benefits Plaintiffs would have had Plaintiffs not been discriminated against by

                          Defendant, or in lieu of reinstatement, award front pay;

                    t. Award Plaintiffs the costs of this action, together with a reasonable attorney fees; and

                    u. Grant Plaintiff such additional relief as the Court deems just and proper under the

                          circumstances.

                                                         COUNT 9
                                         Retaliation in Violation of 42 U.S.C. § 1981

                    57.       Plaintiff re-adopts each and every factual allegation as stated in paragraphs 1-17 of

                this complaint as if set out in full herein.

                    58.      Plaintiff is a member of a protected class under §1981.

                    59.       By the conduct describe above, Defendant retaliated against Plaintiff for exercising

                rights protected under § 1981.

                    60.       Defendant’s conduct complained of herein was willful and in disregard of




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                Plaintiff’s protected rights.      Defendant and its supervisory personnel were aware that

                discrimination on the basis of race was unlawful but acted in reckless disregard of the law.

                    61.        As a result of Defendant’s actions, as alleged herein, Plaintiff has been deprived of

                rights, has been exposed to ridicule and embarrassment, and has suffered emotional distress and

                damage.

                    62.        The conduct of Defendant, by and through the conduct of its agents, employees,

                and/or representatives, and the Defendant’s failure to make prompt remedial action to prevent

                continued discrimination against the Plaintiff, deprived the Plaintiff of statutory rights under

                federal law.

                    63.        The actions of the Defendant and/or its agents were willful, wanton, and intentional,

                and with malice or reckless indifference to the Plaintiff’s statutorily protected rights, thus

                entitling Plaintiff to damages in the form of compensatory and punitive damages pursuant to

                federal law, to punish the Defendant for its actions and to deter it, and others, from such action

                in the future.

                    64.        Plaintiff has suffered and will continue to suffer both irreparable injury and

                compensable damages as a result of Defendant’s discriminatory practices unless and until this

                Honorable Court grants relief.

                    65.        So that Plaintiff’s rights may be protected, Plaintiff has retained the undersigned

                counsel who is entitled to attorney’s fees pursuant to 42 U.S.C. § 1988, the Civil Rights

                Attorneys Fee Award Act.

             WHEREFORE, Plaintiffs respectfully prays for the following relief against Defendant:

                 v. Adjudge and decree that Defendant has violated 42 U.S.C. § 1981, and has done so

                     willfully, intentionally, and with reckless disregard for Plaintiff’s rights;




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                 w. Enter a judgment requiring that Defendant pay Plaintiff appropriate back pay, benefits'

                    adjustment, and prejudgment interest at amounts to be proved at trial for the unlawful

                    employment practices described herein;

                 x. Enter an award against Defendant and award Plaintiff compensatory damages for mental

                    anguish, personal suffering, and loss of enjoyment of life;

                 y. Require Defendant to reinstate Plaintiff to the position at the rate of pay and with the full

                    benefits Plaintiff would have had Plaintiff not been discriminated against by Defendant,

                    or in lieu of reinstatement, award front pay;

                 z. Award Plaintiff the costs of this action, together with a reasonable attorneys' fees; and

                 aa. Grant Plaintiff such additional relief as the Court deems just and proper under the

                    circumstances.

                                             JURY TRIAL DEMAND

                    Plaintiff demands a trial by jury on each of her above claims.

                            Dated: December 4, 2023                 Respectfully submitted,

                                                                       /s/ Daniel H. Hunt
                                                                    Daniel H. Hunt, Esq.
                                                                    Florida Bar No.: 121247
                                                                    PO BOX 565096
                                                                    Miami, FL 33256
                                                                    dhuntlaw@gmail.com
                                                                    Telephone: (305) 495-5593
                                                                    Facsimile: (305) 513-5723

                                                                    Attorney for Plaintiff




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                  IN THE CIRCUIT&2817< COURT OF THE THIRTEENTH JUDICIAL CIRCUIT,
                             IN AND FOR HILLSBOROUGH COUNTY, FLORIDA



                                                                            Case Number: _________________
           SARA FARDI                                                       Division:      _________________
       Plaintiff(s)/Petitioner(s)

       vs
       MENZIES AVIATION (USA) INC.,
       D)RUHLJQProfit Corporation
       __________________BBBBBBBBBBBBBBB
       Defendant(s)/Respondent(s)



                                         REQUEST FOR DIVISION ASSIGNMENT


      This is a request based on local Administrative Order(s) for the Clerk of the Court to assign the above styled case
      in the:

       ✔    Tampa Division


            East Division (check all that apply):
                   The Defendant resides within the East Division boundaries;
                   The cause of action occurred within the East Division boundaries;
                   The property in litigation is located within the East Division boundaries


            Prior Division (Please indicate Case Number and Division of previously filed action: _________________ )


      I understand that the actual division assignment will be in accordance with the Hillsborough County
      Administrative Orders. If there is no supported request for specific division assignment, this action will be
      assigned a division based on a random and equitable distribution system.

                        DANIEL H. HUNT, ESQ.
      Name of Attorney: ________________________________________
               P.O. Box 565096
      Address: ________________________________________________
      Miami, FL 33256
      ________________________________________________________
                    (305) 495-5593
      Phone Number: ___________________________________________
                         dhuntlaw@gmail.com
      Email Address(es): ________________________________________
                             nicole@themiamishark.com; dan@themiamishark.com

       Revised 0/1/202                                                                      Page 1 of 1


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                                                                   IN THE CIRCUIT COURT OF THE
                                                                   13TH JUDICIAL CIRCUIT IN AND FOR
                                                                   HILLSBOROUGH COUNTY, FLORIDA


             SARA FARDI,

                      Plaintiff,

             vs.                                                   Case No.:

             MENZIES AVIATION (USA) INC.,
             a Foreign Profit Corporation,

                    Defendant.
             ________________________________________/


                                                       SUMMONS

             To: MENZIES AVIATION (USA) INC., a Foreign Profit Corporation, through their
             registered agent CORPORATION SERVICE COMPANY:

                                                    MENZIES AVIATION (USA) INC.
                                                    1201 HAYS STREET
                                                    TALLAHASSEE, FL 32301-2525

             YOU ARE HEREBY SUMMONED and required to serve upon PLAINTIFF’S ATTORNEY

                                                    DANIEL H. HUNT, ESQ. (FBN 121247)
                                                    DHUNTLAW@GMAIL.COM
                                                    6'L[LH+Z\
                                                    MIAMI, FL 3356

             an answer to the complaint which is herewith served upon you, within 20 days after service of this
             summons upon you, exclusive of the day of service. If you fail to do so, judgment by default will be
             taken against you for the relief demanded in the complaint. You must also file your answer with the
             Clerk of this Court within a reasonable period of time after service.




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                               REQUESTS FOR ACCOMMODATIONS BY PERSONS
                                                 WITH DISABILITIES



             If you are a person with a disability who needs any accommodation in order to participate in this
             proceeding, you are entitled, at no cost to you, to the provision of certain assistance. Please
             contact the ADA Coordinator, 601 E. Kennedy Blvd., Tampa, FL 33602 Phone: (813) 276-8100,
             extension at least 7 days before your scheduled court appearance, or immediately upon receiving
             this notification if the time before the scheduled appearance is less than 7 days; if you are
             hearing or voice impaired, call 711.

             SPANISH: Si usted es una persona discapacitada que necesita algun tipo de adecuaci6n para
             poder participar de este procedimiento, usted tiene derecho a que se le ayude hasta cierto punto y
             sin costo alguno. Por favor comuniquese con ADA Coordinator, 601 E. Kennedy Blvd., Tampa,
             FL 33602 Phone: (813) 276-8100, extension 7039, al menos 7 dias antes de su fecha de
             comparecencia o inmediatamente despues de haber recibido esta notificaci6n si faltan menos de
             7 dias para su cita en el tribunal. Si tiene discapacidad auditiva o de habla, Bame al 711.

             KREYOL: Si ou se yon moun ki andikape epi ou bezwen nenpot akomodasyon pou ou ka
             patisipe nan pwose sa-a, ou gen dwa, san ou pa gen pou-ou peye anyen, pou yo ba-o yon seri de
             asistans. Tanpri kontakte ADA Coordinator, 601 E. Kennedy Blvd., Tampa, FL 33602 Phone:
             (813) 276-8100, extension 7039 omwen 7 jou alavans jou ou gen pou-ou paret nan tribunal-la,
             ouswa imedyatman kote ou resevwa notifikasyon-an si ke Ii mwens ke 7 jou; si ou soud ouswa
             hebe, rele 711.



             WITNESS my hand and the seal of said Court this __ day of ______, 2023




             (COURT SEAL)
                                                  _______________________________________
                                                  Deputy Clerk




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                                                        IMPORTANT

             A lawsuit has been filed against you. You have 20 calendar days after this summons is served on
             you to file a written response to the attached complaint with the clerk of this court. A phone call
             will not protect you. Your written response, including the case number given above and the
             names of the parties, must be filed if you want the court to hear your side of the case. If you do
             not file your response on time, you may lose the case, and your wages, money and property may
             thereafter be taken without further warning from the court. There are other legal requirements.
             You may want to call an attorney right away. If you do not know an attorney, you may call an
             attorney referral service or legal aid office (listed in the phone book).

             If you choose to file a written response yourself, at the same time you file your written response
             to the court you must also mail or take a copy of your written response to the "Plaintiff/Plaintiff's
             Attorney" named above.

                                                       IMPORTANTE

             Usted ha sido demandado legalmente. Tiene veinte (20) dias, contados a partir del recibo de esta
             notificacion, para contestar la demanda adjunta, por escrito, y presentarla ante este tribunal. Una
             Hamada telefonica no lo protegera; si usted desea que el tribunal considere su defensa, debe
             presentar su repuesta por escrito, incluyendo el numero del caso y los numbres de las partes
             interesadas en dicho caso. Si usted no contesta la demanda a tiempo, pudiese perder el caso y
             podria ser despojado de sus ingresos y propiedades, o privado de sus derechos, sin previo aYiso
             del tribunal. Existen otros requisitos legales. Si lo desea, puede usted consultar a un abogado
             immediatamente. Si no conoce a un abogado, puede Hamar a una de las oficinas de asistencia
             legal que aparecen en la guia telefonica.

             Si desea responder a la demanda por su centa, al mismo tiempo en que presenta su respuesta ante
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             denurninada abajo como "Plaintifti'Plaintiff's Attorney." (Demandate o Abogado del
             Demanadante).

             "De acuerdo con el Acto o' Decreto de los Americanos con Impedimentos Inhabilitados,
             personas en necesidad del servicio especial para particpar en estee procedimiento deberan, dentro
             de un tiempo razonable, antes de cualquier procedimiento, ponerse en un tiempo razonable, antes
             de cualquier procedimiento, ponerse en contacto con la oficina Administrativa de la Corte,
             Telefono (TDD) 1-800-955-877 l o Voice (V) 1-800-955-8770, via Florida Relay Service.

             IMPORTANT

             Des poursuites judiciaries ont ete entreprises contre Yous. Yous avez 20 jours consecutifs a
             partir de la date de l'assignation de cet'te citation pour deposer une response ecrite a la plainte ci-
             jointe aupres de ce Tribunal. Un simple coup de telephone est insuffisant pour vous proteger'


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             vous etes oblige de deposer votre reponse ecrite, avec mention du numero de dossier ci-dessus et
             du nom des parties nommees ici, si vous souhaitez que le Tribunal entende votre cause. Si Yous
             ne deposez pas votre reponse ecrite dans le relai requis, vous risquez de perdre la cause ainsi que
             votre salaire, votre argent, et vos biens peuvent etre saisis par la suite, sans aucun preavis
             ulterieur du Tribunal. Tl y a d'autres obligations juridiques et vous pouvez requerir les services
             immediats d'un avocat. Si vous ne connaissez pas d'avocat, vous pourriez telephoner a un service
             de reference d'avocats ou a un bureau d'assistance juridique (figurant a l'annuaire de telephones).

             Si vous choisissez de deposer vous-meme une response ecrite, ii vous faudra egalement, en
             meme temps que cette formalite, faire parvenir ou expedier une copie au carbone ou une
             photocopie de votre reponse ecrite au "Plaintiff/Plaintiff's Attorney" (Plaignant ou a son avocat)
             nomme ci-dessous.

             En accordance avec la Loi des "Americans With Disabilities". Les personnes en besoin d'une
             accomodation speciale pour participer a ces procedures doivent, dans un temps raisonable, avant
             d'entreprendre aucune autre demarche, contracter l'office administrative de la Court situe au le
             telephone ou Telefono (TDD) 1-800-955-8771 ou Voice (V) 1-800-955-8770, via Florida Relay
             Service."

                                                DANIEL H HUNT, ESQ.
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                                                  MIAMI, FL 3356




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               IN THE CIRCUIT/COUNTY COURT OF THE THIRTEENTH JUDICIAL
                   CIRCUIT, IN AND FOR HILLSBOROUGH COUNTY, FLORIDA


  SARA FARDI
         Plaintiffs,
  v.                                                   Case Number: 23-CA-016979
                                                       Division E

  MENZIES AVIATION (USA) INC
         Defendants.
  ___________________________

                       DIFFERENTIATED CASE MANAGEMENT ORDER &
                         NOTICE OF CASE MANAGEMENT HEARING
                                    ON 8/14/2024 AT 10:30 AM
            (GENERAL CIRCUIT CIVIL CASES FILED AFTER APRIL 30, 2021)


          THIS CAUSE comes before the Court on review of Amendment 12 to Florida Supreme
  Court Administrative Order AOSC20-23 (the “Supreme Court Order”). The Supreme Court
  Order directs the chief judge of each circuit to issue an administrative order requiring the
  presiding judge for each civil case to actively manage civil cases in accordance with a
  differentiated case management process. Consistent with this requirement, the Chief Judge of
  the Thirteenth Judicial Circuit issued Administrative Order S-2021-060 (the “Case Management
  Plan”) on April 26, 2021.
         Accordingly, it is now
         FOUND, ORDERED, and ADJUDGED that:
  1. Designation of Case. This case is preliminarily designated as a General civil case, as
        defined by the Supreme Court Order and the Case Management Plan.

  2. Plaintiff’s Obligation to Serve DCM Order on All Defendants. Consistent with the Case
        Management Plan, this Differentiated Case Management Order & Notice of Hearing (the
        “DCM Order”) has been generated automatically upon the filing of the complaint and
        will be provided to Plaintiff along with the summons. Plaintiff is DIRECTED to serve
        the DCM Order on each and every named defendant in the same manner and at the same
        time as the complaint itself is served.

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  3. Conformity with Supreme Court Order’s Directive. The deadlines established in this
        DCM Order are set in conformity with the Supreme Court Order’s directive that General
        civil cases be managed according to the time standards specified in Florida Rule of
        General Practice and Judicial Administration 2.250(a)(1)(B).

  4. Procedure for Modification of Deadlines. Counsel or any self-represented parties, or both,
        may seek to modify the deadlines set forth in this order by either:


         a.      Filing a motion and setting it for hearing; or

         b.      Stipulating to new deadlines and submitting an Amended Differentiated Case
                 Management Order. The Amended Differentiated Case Management Order
                 (“Amended DCM Order”) form is available under the “Forms” tab of the
                 undersigned’s page at http://www.fljud13.org. The Amended DCM Order must
                 include a date for a court-ordered case management conference (the “Court-
                 Ordered Case Management Conference”). Hearing time for the Court-Ordered
                 Case Management Conference should be secured on either a Uniform Motion
                 Calendar (“UMC”) docket or a 15-minute hearing docket.

  5. Procedure for Setting Firm Trial Date When Case is at Issue. Consistent with the
        Supreme Court Order’s mandate, the deadlines set forth in this DCM Order contemplate a
        projected trial date within the time standards specified in Florida Rule of General Practice
        and Judicial Administration 2.250(a)(1)(B). A firm trial date will be set through entry of
        a Uniform Order Setting Trial & Pretrial at the Court-Ordered Case Management
        Conference or as otherwise provided in this order.

  6. Court-Ordered Case Management Conference. It is appropriate to set a Court-Ordered
       Case Management Conference prior to the close of fact discovery to both assess the
       progress of the case and set a firm trial date.

              a. Date and Time for Court-Ordered Case Management Set Below. A date and
                 time for the Court-Ordered Case Management Conference is set below.

              b. Method of Conducting Court-Ordered Case Management Conference: The
                 Court-Ordered Case Management Conference will be conducted remotely through
                 the use of the following technology and connection instructions:

                 Webex: 1-904-900-2303 or 1-415-655-0001
                 Access Code: 132 571 5688

              c. Attendance Mandated. Counsel and any self-represented parties MUST
                 ATTEND unless otherwise excused by the Court and must be prepared to discuss
                 selection of a firm trial date and corresponding pretrial conference date and time.


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            d. Process for Securing Excusal from Attending the Court-Ordered Case
               Management Conference:

                    i. Automatic Excusal.

                           1. Unless otherwise ordered by the presiding judge, counsel or any
                              self-represented parties, or both, are automatically excused from
                              attending the Court-Ordered Case Management Conference if a
                              Uniform Order Setting Trial & Pretrial (Revised April 30, 2021)
                              has been submitted to and signed by the Court at least 30 days
                              before the date of the Court-Ordered Case Management
                              Conference; and

                           2. Any party seeking to invoke this automatic excusal provision
                              should notify the judicial assistant by email sent to the division
                              email address within 3 business days of the date the Uniform Order
                              Setting Trial & Pretrial (Revised April 30, 2021) is signed.

                   ii. Discretionary Excusal.

                           1. Counsel or self-represented parties, or both, may seek a
                              discretionary excusal from the Court-Ordered Case Management
                              Conference by filing a motion and submitting an agreed proposed
                              order excusing attendance by the Court on one of the following
                              grounds:

                                   a. The Court has signed an Amended DCM Order, either by
                                      stipulation or by filing a motion and setting a hearing, AND
                                      the Amended DCM Order sets a new Court-Ordered Case
                                      Management Conference; or

                                   b. Counsel has otherwise demonstrated good cause to believe
                                      that the case is otherwise in full compliance with the
                                      Supreme Court Order’s mandate and the Case Management
                                      Plan.

            e. Failure to Attend Court-Ordered Case Management Conference. The failure
               to attend the Court-Ordered Case Management Conference may result in the case
               being set for a trial date without input of the absent counsel or self-represented
               party, or both; dismissal of the complaint without prejudice; entry of a judicial
               default; monetary sanctions against counsel or any self-represented parties, or
               both; or any other sanctions deemed appropriate by the presiding judge.

     7. Firm Trial Date to be Set by Uniform Order Setting Trial & Pretrial (Revised April
        30, 2021). Once a firm trial date is selected, counsel will be directed to prepare and

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        submit through the Florida E-Portal (the “Portal”) a Uniform Order Setting Trial &
        Pretrial (Revised April 30, 2021), which is available under the “Forms” tab of the
        undersigned’s page at http://www.fljud13.org. The Uniform Order Setting Trial &
        Pretrial (Revised April 30, 2021) will require calculation of additional deadlines in a
        specified manner.

     8. Requirement to Review and Comply with Administrative Order for Circuit Civil
        Division. Counsel and any self-represented parties are DIRECTED to review and
        comply with all provisions of the Thirteenth Circuit’s Administrative Order S-2021-014
        (Circuit Civil Division), and any successive administrative order.

     9. Certificate of Conferral for Non-Dispositive Motions.

            a. When Required. Except for a motion (i) for injunctive relief; (ii) for judgment
               on the pleadings; (iii) for summary judgment; (iv) to dismiss or to permit
               maintenance of a class action; (v) to dismiss for failure to state a claim upon
               which relief can be granted; or (vi) to involuntarily dismiss an action, before the
               moving party or moving party’s counsel files any other motion, the party or
               counsel should confer with the opposing party or opposing counsel in a good faith
               effort to resolve the issues raised by the motion. The moving party or moving
               party’s counsel should include in the body of the motion a statement certifying
               that the moving party or moving party’s counsel has conferred with the opposing
               party or opposing party’s counsel—either in person, by telephone, or by video
               conferencing device—and stating whether the party or counsel agree on the
               resolution of the motion. A certification to the effect that opposing party or
               opposing party’s counsel was unavailable for a conference before filing a motion
               should describe, with particularity, all of the efforts undertaken to accomplish
               dialogue with the opposing party or opposing party’s counsel prior to filing the
               subject motion.

            b. Cancelation of Hearing/Denial of Motion Filed Without Certificate of
               Conferral. Counsel and any self-represented parties should anticipate that a
               hearing set on a motion that lacks such a certification will be canceled and the
               motion may be denied without a hearing for failure to comply with this
               requirement.

            c. Form of Certificate of Conferral. The certificate of conferral should be
               substantially in the following form:

               Certificate of Conferral Prior to Filing

               “I certify that prior to filing this motion, I attempted to resolve the matter by
               discussing the relief requested in this motion by [date and method of
               communication (select one of the following: in person, telephone, or video
               conference)] with the opposing party or counsel and [the opposing party or

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                counsel did not agree to that the motion could be resolved without the necessity of
                a hearing] OR [the opposing party or counsel did not respond and (describe with
                particularity all of the efforts undertaken to accomplish dialogue with the
                opposing party or opposing party’s counsel prior to filing the motion)].”


  10. Discovery Provisions.

            a. Fact Discovery.

                     i. All discovery must be served in time for a timely response to be received
                        prior to the deadline for completion of fact discovery.

                    ii. All non-expert witness depositions must occur prior to the deadline for
                        completion of fact discovery.

                   iii. Failure to timely complete discovery by the deadline for completion of
                        fact discovery may result in, among other things, exclusion of evidence or
                        other sanctions, or both.


            b. Expert Discovery.

                     i. Expert disclosure must occur by the deadline indicated below.

                    ii. Contemporaneous with disclosure of each expert, the disclosing party
                        must provide to all other parties:

                            1. No less than five proposed deposition dates, all of which must be
                               prior to the deadline to complete expert discovery; and

                            2. For each expert:

                                    a. Identify the expert’s area of expertise;

                                    b. Identify the subject matter on which the expert is expected
                                       to testify;

                                    c. Summarize the substance of the facts and opinions to which
                                       the expert is expected to testify; and

                                    d. Summarize the grounds for each opinion.

                   iii. The court may preclude an expert from testifying outside of the disclosed
                        opinions.

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                    iv. All expert witness depositions must be conducted prior to the deadline for
                        completion of expert discovery.

                    v. It is the responsibility of counsel to select experts who:

                            1. Are prepared to make themselves available for deposition within
                               the expert discovery period; and

                            2. Are prepared to respond promptly to requests for deposition dates.

                    vi. If an expert cannot be deposed prior to the deadline for completion of
                        expert discovery despite timely and reasonable efforts of opposing counsel
                        to secure deposition dates, that expert’s testimony may be excluded at
                        trial.

  11. Deadlines. The deadlines set forth below are ESTABLISHED and will GOVERN this case
         and will be strictly enforced by the Court. Counsel and any self-represented parties are
         DIRECTED to review, calendar, and abide by them:


                           Action or Event                                           Date

     Complaint filing date.                                                    12/04/2023

     Deadline for service of complaint.                                          4/2/2024
     [120 days after filing of complaint; see Rule 1.070(j), Fla. R.
     Civ. P.]

     Deadline for adding parties.                                                5/2/2024
     [150 days after filing of complaint; subject to Rule 1.210,
     Fla. R. Civ. P.]

     Deadline for service under extensions.                                      6/3/2024
     [180 days after filing of complaint; see Rule 1.070(j), Fla. R.
     Civ. P.]

     Court-Ordered Case Management Conference.                                 08/14/2024
     NOTE: This hearing will be conducted remotely. Please                           At
     see paragraph 6(b) for connection instructions.
                                                                                10:30 AM
     [210 days after filing of complaint.]

     Deadline for completion of fact discovery.                                 8/30/2024


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     [270 days after filing of complaint.]

     Deadline for filing motion to compel discovery.
                                                                                9/13/2024
     [284 days after filing of complaint.]

     Plaintiff’s expert disclosure deadline.                                    9/30/2024
     [300 days after filing of complaint.]

     Defendant’s expert disclosure deadline.                                   10/29/2024
     [330 days after filing of complaint.]

     Rebuttal expert disclosure deadline.                                      11/12/2024
     [344 days after filing of complaint.]

     Deadline for completion of compulsory medical exam, if
     applicable and requested (“CME”).
                                                                               12/30/2024
     [390 days after filing of complaint; subject to Rule
     1.360(1)(A), Fla. R. Civ. P.]

     Deadline for completion of mediation or non-binding
     arbitration.                                                               1/27/2025
     [420 days after filing of complaint.]

     Deadline for completion of expert discovery.
                                                                                1/27/2025
     [420 days after filing of complaint.]

     Month and year of the projected trial term.
     [540 days after filing of complaint; see Florida Rule of
     General Practice and Judicial Administration 2.250(a)(1)(B);               May, 2025
     firm trial date will be set by entry of a Uniform Order
     Setting Trial & Pretrial (Revised April 30, 2021).]

         ENTERED by the undersigned judge on the date imprinted below.




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                                                                   IN THE CIRCUIT COURT OF THE
                                                                   13TH JUDICIAL CIRCUIT IN AND FOR
                                                                   HILLSBOROUGH COUNTY, FLORIDA


             SARA FARDI,

                      Plaintiff,

             vs.                                                   Case No.:

             MENZIES AVIATION (USA) INC.,
             a Foreign Profit Corporation,

                    Defendant.
             ________________________________________/


                                                       SUMMONS

             To: MENZIES AVIATION (USA) INC., a Foreign Profit Corporation, through their
             registered agent CORPORATION SERVICE COMPANY:

                                                    MENZIES AVIATION (USA) INC.
                                                    1201 HAYS STREET
                                                    TALLAHASSEE, FL 32301-2525

             YOU ARE HEREBY SUMMONED and required to serve upon PLAINTIFF’S ATTORNEY

                                                    DANIEL H. HUNT, ESQ. (FBN 121247)
                                                    DHUNTLAW@GMAIL.COM
                                                    6'L[LH+Z\
                                                    MIAMI, FL 3356

             an answer to the complaint which is herewith served upon you, within 20 days after service of this
             summons upon you, exclusive of the day of service. If you fail to do so, judgment by default will be
             taken against you for the relief demanded in the complaint. You must also file your answer with the
             Clerk of this Court within a reasonable period of time after service.




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                               REQUESTS FOR ACCOMMODATIONS BY PERSONS
                                                 WITH DISABILITIES



             If you are a person with a disability who needs any accommodation in order to participate in this
             proceeding, you are entitled, at no cost to you, to the provision of certain assistance. Please
             contact the ADA Coordinator, 601 E. Kennedy Blvd., Tampa, FL 33602 Phone: (813) 276-8100,
             extension at least 7 days before your scheduled court appearance, or immediately upon receiving
             this notification if the time before the scheduled appearance is less than 7 days; if you are
             hearing or voice impaired, call 711.

             SPANISH: Si usted es una persona discapacitada que necesita algun tipo de adecuaci6n para
             poder participar de este procedimiento, usted tiene derecho a que se le ayude hasta cierto punto y
             sin costo alguno. Por favor comuniquese con ADA Coordinator, 601 E. Kennedy Blvd., Tampa,
             FL 33602 Phone: (813) 276-8100, extension 7039, al menos 7 dias antes de su fecha de
             comparecencia o inmediatamente despues de haber recibido esta notificaci6n si faltan menos de
             7 dias para su cita en el tribunal. Si tiene discapacidad auditiva o de habla, Bame al 711.

             KREYOL: Si ou se yon moun ki andikape epi ou bezwen nenpot akomodasyon pou ou ka
             patisipe nan pwose sa-a, ou gen dwa, san ou pa gen pou-ou peye anyen, pou yo ba-o yon seri de
             asistans. Tanpri kontakte ADA Coordinator, 601 E. Kennedy Blvd., Tampa, FL 33602 Phone:
             (813) 276-8100, extension 7039 omwen 7 jou alavans jou ou gen pou-ou paret nan tribunal-la,
             ouswa imedyatman kote ou resevwa notifikasyon-an si ke Ii mwens ke 7 jou; si ou soud ouswa
             hebe, rele 711.



             WITNESS my hand and the seal of said Court this __ day of ______, 2023




             (COURT SEAL)
                                                  _______________________________________
                                                  Deputy Clerk




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                                                        IMPORTANT

             A lawsuit has been filed against you. You have 20 calendar days after this summons is served on
             you to file a written response to the attached complaint with the clerk of this court. A phone call
             will not protect you. Your written response, including the case number given above and the
             names of the parties, must be filed if you want the court to hear your side of the case. If you do
             not file your response on time, you may lose the case, and your wages, money and property may
             thereafter be taken without further warning from the court. There are other legal requirements.
             You may want to call an attorney right away. If you do not know an attorney, you may call an
             attorney referral service or legal aid office (listed in the phone book).

             If you choose to file a written response yourself, at the same time you file your written response
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                                                       IMPORTANTE

             Usted ha sido demandado legalmente. Tiene veinte (20) dias, contados a partir del recibo de esta
             notificacion, para contestar la demanda adjunta, por escrito, y presentarla ante este tribunal. Una
             Hamada telefonica no lo protegera; si usted desea que el tribunal considere su defensa, debe
             presentar su repuesta por escrito, incluyendo el numero del caso y los numbres de las partes
             interesadas en dicho caso. Si usted no contesta la demanda a tiempo, pudiese perder el caso y
             podria ser despojado de sus ingresos y propiedades, o privado de sus derechos, sin previo aYiso
             del tribunal. Existen otros requisitos legales. Si lo desea, puede usted consultar a un abogado
             immediatamente. Si no conoce a un abogado, puede Hamar a una de las oficinas de asistencia
             legal que aparecen en la guia telefonica.

             Si desea responder a la demanda por su centa, al mismo tiempo en que presenta su respuesta ante
             el tribunal, debera usted inviar por correo o entregar una copia de su respuesta a la persona
             denurninada abajo como "Plaintifti'Plaintiff's Attorney." (Demandate o Abogado del
             Demanadante).

             "De acuerdo con el Acto o' Decreto de los Americanos con Impedimentos Inhabilitados,
             personas en necesidad del servicio especial para particpar en estee procedimiento deberan, dentro
             de un tiempo razonable, antes de cualquier procedimiento, ponerse en un tiempo razonable, antes
             de cualquier procedimiento, ponerse en contacto con la oficina Administrativa de la Corte,
             Telefono (TDD) 1-800-955-877 l o Voice (V) 1-800-955-8770, via Florida Relay Service.

             IMPORTANT

             Des poursuites judiciaries ont ete entreprises contre Yous. Yous avez 20 jours consecutifs a
             partir de la date de l'assignation de cet'te citation pour deposer une response ecrite a la plainte ci-
             jointe aupres de ce Tribunal. Un simple coup de telephone est insuffisant pour vous proteger'


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             vous etes oblige de deposer votre reponse ecrite, avec mention du numero de dossier ci-dessus et
             du nom des parties nommees ici, si vous souhaitez que le Tribunal entende votre cause. Si Yous
             ne deposez pas votre reponse ecrite dans le relai requis, vous risquez de perdre la cause ainsi que
             votre salaire, votre argent, et vos biens peuvent etre saisis par la suite, sans aucun preavis
             ulterieur du Tribunal. Tl y a d'autres obligations juridiques et vous pouvez requerir les services
             immediats d'un avocat. Si vous ne connaissez pas d'avocat, vous pourriez telephoner a un service
             de reference d'avocats ou a un bureau d'assistance juridique (figurant a l'annuaire de telephones).

             Si vous choisissez de deposer vous-meme une response ecrite, ii vous faudra egalement, en
             meme temps que cette formalite, faire parvenir ou expedier une copie au carbone ou une
             photocopie de votre reponse ecrite au "Plaintiff/Plaintiff's Attorney" (Plaignant ou a son avocat)
             nomme ci-dessous.

             En accordance avec la Loi des "Americans With Disabilities". Les personnes en besoin d'une
             accomodation speciale pour participer a ces procedures doivent, dans un temps raisonable, avant
             d'entreprendre aucune autre demarche, contracter l'office administrative de la Court situe au le
             telephone ou Telefono (TDD) 1-800-955-8771 ou Voice (V) 1-800-955-8770, via Florida Relay
             Service."

                                                DANIEL H HUNT, ESQ.
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                                                  MIAMI, FL 3356




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               IN THE CIRCUIT/COUNTY COURT OF THE THIRTEENTH JUDICIAL
                   CIRCUIT, IN AND FOR HILLSBOROUGH COUNTY, FLORIDA


  SARA FARDI
         Plaintiffs,
  v.                                                   Case Number: 23-CA-016979
                                                       Division E

  MENZIES AVIATION (USA) INC
         Defendants.
  ___________________________

                       DIFFERENTIATED CASE MANAGEMENT ORDER &
                         NOTICE OF CASE MANAGEMENT HEARING
                                    ON 8/14/2024 AT 10:30 AM
            (GENERAL CIRCUIT CIVIL CASES FILED AFTER APRIL 30, 2021)


          THIS CAUSE comes before the Court on review of Amendment 12 to Florida Supreme
  Court Administrative Order AOSC20-23 (the “Supreme Court Order”). The Supreme Court
  Order directs the chief judge of each circuit to issue an administrative order requiring the
  presiding judge for each civil case to actively manage civil cases in accordance with a
  differentiated case management process. Consistent with this requirement, the Chief Judge of
  the Thirteenth Judicial Circuit issued Administrative Order S-2021-060 (the “Case Management
  Plan”) on April 26, 2021.
         Accordingly, it is now
         FOUND, ORDERED, and ADJUDGED that:
  1. Designation of Case. This case is preliminarily designated as a General civil case, as
        defined by the Supreme Court Order and the Case Management Plan.

  2. Plaintiff’s Obligation to Serve DCM Order on All Defendants. Consistent with the Case
        Management Plan, this Differentiated Case Management Order & Notice of Hearing (the
        “DCM Order”) has been generated automatically upon the filing of the complaint and
        will be provided to Plaintiff along with the summons. Plaintiff is DIRECTED to serve
        the DCM Order on each and every named defendant in the same manner and at the same
        time as the complaint itself is served.

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  3. Conformity with Supreme Court Order’s Directive. The deadlines established in this
        DCM Order are set in conformity with the Supreme Court Order’s directive that General
        civil cases be managed according to the time standards specified in Florida Rule of
        General Practice and Judicial Administration 2.250(a)(1)(B).

  4. Procedure for Modification of Deadlines. Counsel or any self-represented parties, or both,
        may seek to modify the deadlines set forth in this order by either:


         a.      Filing a motion and setting it for hearing; or

         b.      Stipulating to new deadlines and submitting an Amended Differentiated Case
                 Management Order. The Amended Differentiated Case Management Order
                 (“Amended DCM Order”) form is available under the “Forms” tab of the
                 undersigned’s page at http://www.fljud13.org. The Amended DCM Order must
                 include a date for a court-ordered case management conference (the “Court-
                 Ordered Case Management Conference”). Hearing time for the Court-Ordered
                 Case Management Conference should be secured on either a Uniform Motion
                 Calendar (“UMC”) docket or a 15-minute hearing docket.

  5. Procedure for Setting Firm Trial Date When Case is at Issue. Consistent with the
        Supreme Court Order’s mandate, the deadlines set forth in this DCM Order contemplate a
        projected trial date within the time standards specified in Florida Rule of General Practice
        and Judicial Administration 2.250(a)(1)(B). A firm trial date will be set through entry of
        a Uniform Order Setting Trial & Pretrial at the Court-Ordered Case Management
        Conference or as otherwise provided in this order.

  6. Court-Ordered Case Management Conference. It is appropriate to set a Court-Ordered
       Case Management Conference prior to the close of fact discovery to both assess the
       progress of the case and set a firm trial date.

              a. Date and Time for Court-Ordered Case Management Set Below. A date and
                 time for the Court-Ordered Case Management Conference is set below.

              b. Method of Conducting Court-Ordered Case Management Conference: The
                 Court-Ordered Case Management Conference will be conducted remotely through
                 the use of the following technology and connection instructions:

                 Webex: 1-904-900-2303 or 1-415-655-0001
                 Access Code: 132 571 5688

              c. Attendance Mandated. Counsel and any self-represented parties MUST
                 ATTEND unless otherwise excused by the Court and must be prepared to discuss
                 selection of a firm trial date and corresponding pretrial conference date and time.


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            d. Process for Securing Excusal from Attending the Court-Ordered Case
               Management Conference:

                    i. Automatic Excusal.

                           1. Unless otherwise ordered by the presiding judge, counsel or any
                              self-represented parties, or both, are automatically excused from
                              attending the Court-Ordered Case Management Conference if a
                              Uniform Order Setting Trial & Pretrial (Revised April 30, 2021)
                              has been submitted to and signed by the Court at least 30 days
                              before the date of the Court-Ordered Case Management
                              Conference; and

                           2. Any party seeking to invoke this automatic excusal provision
                              should notify the judicial assistant by email sent to the division
                              email address within 3 business days of the date the Uniform Order
                              Setting Trial & Pretrial (Revised April 30, 2021) is signed.

                   ii. Discretionary Excusal.

                           1. Counsel or self-represented parties, or both, may seek a
                              discretionary excusal from the Court-Ordered Case Management
                              Conference by filing a motion and submitting an agreed proposed
                              order excusing attendance by the Court on one of the following
                              grounds:

                                   a. The Court has signed an Amended DCM Order, either by
                                      stipulation or by filing a motion and setting a hearing, AND
                                      the Amended DCM Order sets a new Court-Ordered Case
                                      Management Conference; or

                                   b. Counsel has otherwise demonstrated good cause to believe
                                      that the case is otherwise in full compliance with the
                                      Supreme Court Order’s mandate and the Case Management
                                      Plan.

            e. Failure to Attend Court-Ordered Case Management Conference. The failure
               to attend the Court-Ordered Case Management Conference may result in the case
               being set for a trial date without input of the absent counsel or self-represented
               party, or both; dismissal of the complaint without prejudice; entry of a judicial
               default; monetary sanctions against counsel or any self-represented parties, or
               both; or any other sanctions deemed appropriate by the presiding judge.

     7. Firm Trial Date to be Set by Uniform Order Setting Trial & Pretrial (Revised April
        30, 2021). Once a firm trial date is selected, counsel will be directed to prepare and

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        submit through the Florida E-Portal (the “Portal”) a Uniform Order Setting Trial &
        Pretrial (Revised April 30, 2021), which is available under the “Forms” tab of the
        undersigned’s page at http://www.fljud13.org. The Uniform Order Setting Trial &
        Pretrial (Revised April 30, 2021) will require calculation of additional deadlines in a
        specified manner.

     8. Requirement to Review and Comply with Administrative Order for Circuit Civil
        Division. Counsel and any self-represented parties are DIRECTED to review and
        comply with all provisions of the Thirteenth Circuit’s Administrative Order S-2021-014
        (Circuit Civil Division), and any successive administrative order.

     9. Certificate of Conferral for Non-Dispositive Motions.

            a. When Required. Except for a motion (i) for injunctive relief; (ii) for judgment
               on the pleadings; (iii) for summary judgment; (iv) to dismiss or to permit
               maintenance of a class action; (v) to dismiss for failure to state a claim upon
               which relief can be granted; or (vi) to involuntarily dismiss an action, before the
               moving party or moving party’s counsel files any other motion, the party or
               counsel should confer with the opposing party or opposing counsel in a good faith
               effort to resolve the issues raised by the motion. The moving party or moving
               party’s counsel should include in the body of the motion a statement certifying
               that the moving party or moving party’s counsel has conferred with the opposing
               party or opposing party’s counsel—either in person, by telephone, or by video
               conferencing device—and stating whether the party or counsel agree on the
               resolution of the motion. A certification to the effect that opposing party or
               opposing party’s counsel was unavailable for a conference before filing a motion
               should describe, with particularity, all of the efforts undertaken to accomplish
               dialogue with the opposing party or opposing party’s counsel prior to filing the
               subject motion.

            b. Cancelation of Hearing/Denial of Motion Filed Without Certificate of
               Conferral. Counsel and any self-represented parties should anticipate that a
               hearing set on a motion that lacks such a certification will be canceled and the
               motion may be denied without a hearing for failure to comply with this
               requirement.

            c. Form of Certificate of Conferral. The certificate of conferral should be
               substantially in the following form:

               Certificate of Conferral Prior to Filing

               “I certify that prior to filing this motion, I attempted to resolve the matter by
               discussing the relief requested in this motion by [date and method of
               communication (select one of the following: in person, telephone, or video
               conference)] with the opposing party or counsel and [the opposing party or

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                counsel did not agree to that the motion could be resolved without the necessity of
                a hearing] OR [the opposing party or counsel did not respond and (describe with
                particularity all of the efforts undertaken to accomplish dialogue with the
                opposing party or opposing party’s counsel prior to filing the motion)].”


  10. Discovery Provisions.

            a. Fact Discovery.

                     i. All discovery must be served in time for a timely response to be received
                        prior to the deadline for completion of fact discovery.

                    ii. All non-expert witness depositions must occur prior to the deadline for
                        completion of fact discovery.

                   iii. Failure to timely complete discovery by the deadline for completion of
                        fact discovery may result in, among other things, exclusion of evidence or
                        other sanctions, or both.


            b. Expert Discovery.

                     i. Expert disclosure must occur by the deadline indicated below.

                    ii. Contemporaneous with disclosure of each expert, the disclosing party
                        must provide to all other parties:

                            1. No less than five proposed deposition dates, all of which must be
                               prior to the deadline to complete expert discovery; and

                            2. For each expert:

                                    a. Identify the expert’s area of expertise;

                                    b. Identify the subject matter on which the expert is expected
                                       to testify;

                                    c. Summarize the substance of the facts and opinions to which
                                       the expert is expected to testify; and

                                    d. Summarize the grounds for each opinion.

                   iii. The court may preclude an expert from testifying outside of the disclosed
                        opinions.

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                    iv. All expert witness depositions must be conducted prior to the deadline for
                        completion of expert discovery.

                    v. It is the responsibility of counsel to select experts who:

                            1. Are prepared to make themselves available for deposition within
                               the expert discovery period; and

                            2. Are prepared to respond promptly to requests for deposition dates.

                    vi. If an expert cannot be deposed prior to the deadline for completion of
                        expert discovery despite timely and reasonable efforts of opposing counsel
                        to secure deposition dates, that expert’s testimony may be excluded at
                        trial.

  11. Deadlines. The deadlines set forth below are ESTABLISHED and will GOVERN this case
         and will be strictly enforced by the Court. Counsel and any self-represented parties are
         DIRECTED to review, calendar, and abide by them:


                           Action or Event                                           Date

     Complaint filing date.                                                    12/04/2023

     Deadline for service of complaint.                                          4/2/2024
     [120 days after filing of complaint; see Rule 1.070(j), Fla. R.
     Civ. P.]

     Deadline for adding parties.                                                5/2/2024
     [150 days after filing of complaint; subject to Rule 1.210,
     Fla. R. Civ. P.]

     Deadline for service under extensions.                                      6/3/2024
     [180 days after filing of complaint; see Rule 1.070(j), Fla. R.
     Civ. P.]

     Court-Ordered Case Management Conference.                                 08/14/2024
     NOTE: This hearing will be conducted remotely. Please                           At
     see paragraph 6(b) for connection instructions.
                                                                                10:30 AM
     [210 days after filing of complaint.]

     Deadline for completion of fact discovery.                                 8/30/2024


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     [270 days after filing of complaint.]

     Deadline for filing motion to compel discovery.
                                                                                9/13/2024
     [284 days after filing of complaint.]

     Plaintiff’s expert disclosure deadline.                                    9/30/2024
     [300 days after filing of complaint.]

     Defendant’s expert disclosure deadline.                                   10/29/2024
     [330 days after filing of complaint.]

     Rebuttal expert disclosure deadline.                                      11/12/2024
     [344 days after filing of complaint.]

     Deadline for completion of compulsory medical exam, if
     applicable and requested (“CME”).
                                                                               12/30/2024
     [390 days after filing of complaint; subject to Rule
     1.360(1)(A), Fla. R. Civ. P.]

     Deadline for completion of mediation or non-binding
     arbitration.                                                               1/27/2025
     [420 days after filing of complaint.]

     Deadline for completion of expert discovery.
                                                                                1/27/2025
     [420 days after filing of complaint.]

     Month and year of the projected trial term.
     [540 days after filing of complaint; see Florida Rule of
     General Practice and Judicial Administration 2.250(a)(1)(B);               May, 2025
     firm trial date will be set by entry of a Uniform Order
     Setting Trial & Pretrial (Revised April 30, 2021).]

         ENTERED by the undersigned judge on the date imprinted below.




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                                                                   IN THE CIRCUIT COURT OF THE
                                                                   13TH JUDICIAL CIRCUIT IN AND FOR
                                                                   HILLSBOROUGH COUNTY, FLORIDA


             SARA FARDI,

                      Plaintiff,

             vs.                                                   Case No.: 23CA016979
                                                                              DIV. E
             MENZIES AVIATION (USA) INC.,
             a Foreign Profit Corporation,

                    Defendant.
             ________________________________________/


                                                       SUMMONS

             To: MENZIES AVIATION (USA) INC., a Foreign Profit Corporation, through their
             registered agent CORPORATION SERVICE COMPANY:

                                                    MENZIES AVIATION (USA) INC.
                                                    1201 HAYS STREET
                                                    TALLAHASSEE, FL 32301-2525

             YOU ARE HEREBY SUMMONED and required to serve upon PLAINTIFF’S ATTORNEY

                                                    DANIEL H. HUNT, ESQ. (FBN 121247)
                                                    DHUNTLAW@GMAIL.COM
                                                    6'L[LH+Z\
                                                    MIAMI, FL 3356

             an answer to the complaint which is herewith served upon you, within 20 days after service of this
             summons upon you, exclusive of the day of service. If you fail to do so, judgment by default will be
             taken against you for the relief demanded in the complaint. You must also file your answer with the
             Clerk of this Court within a reasonable period of time after service.




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                               REQUESTS FOR ACCOMMODATIONS BY PERSONS
                                                 WITH DISABILITIES



             If you are a person with a disability who needs any accommodation in order to participate in this
             proceeding, you are entitled, at no cost to you, to the provision of certain assistance. Please
             contact the ADA Coordinator, 601 E. Kennedy Blvd., Tampa, FL 33602 Phone: (813) 276-8100,
             extension at least 7 days before your scheduled court appearance, or immediately upon receiving
             this notification if the time before the scheduled appearance is less than 7 days; if you are
             hearing or voice impaired, call 711.

             SPANISH: Si usted es una persona discapacitada que necesita algun tipo de adecuaci6n para
             poder participar de este procedimiento, usted tiene derecho a que se le ayude hasta cierto punto y
             sin costo alguno. Por favor comuniquese con ADA Coordinator, 601 E. Kennedy Blvd., Tampa,
             FL 33602 Phone: (813) 276-8100, extension 7039, al menos 7 dias antes de su fecha de
             comparecencia o inmediatamente despues de haber recibido esta notificaci6n si faltan menos de
             7 dias para su cita en el tribunal. Si tiene discapacidad auditiva o de habla, Bame al 711.

             KREYOL: Si ou se yon moun ki andikape epi ou bezwen nenpot akomodasyon pou ou ka
             patisipe nan pwose sa-a, ou gen dwa, san ou pa gen pou-ou peye anyen, pou yo ba-o yon seri de
             asistans. Tanpri kontakte ADA Coordinator, 601 E. Kennedy Blvd., Tampa, FL 33602 Phone:
             (813) 276-8100, extension 7039 omwen 7 jou alavans jou ou gen pou-ou paret nan tribunal-la,
             ouswa imedyatman kote ou resevwa notifikasyon-an si ke Ii mwens ke 7 jou; si ou soud ouswa
             hebe, rele 711.



             WITNESS my hand and the seal of said Court this5th         Dec.
                                                             __ day of ______, 2023




             (COURT SEAL)
                                                  _______________________________________
                                                  Deputy Clerk




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                                                        IMPORTANT

             A lawsuit has been filed against you. You have 20 calendar days after this summons is served on
             you to file a written response to the attached complaint with the clerk of this court. A phone call
             will not protect you. Your written response, including the case number given above and the
             names of the parties, must be filed if you want the court to hear your side of the case. If you do
             not file your response on time, you may lose the case, and your wages, money and property may
             thereafter be taken without further warning from the court. There are other legal requirements.
             You may want to call an attorney right away. If you do not know an attorney, you may call an
             attorney referral service or legal aid office (listed in the phone book).

             If you choose to file a written response yourself, at the same time you file your written response
             to the court you must also mail or take a copy of your written response to the "Plaintiff/Plaintiff's
             Attorney" named above.

                                                       IMPORTANTE

             Usted ha sido demandado legalmente. Tiene veinte (20) dias, contados a partir del recibo de esta
             notificacion, para contestar la demanda adjunta, por escrito, y presentarla ante este tribunal. Una
             Hamada telefonica no lo protegera; si usted desea que el tribunal considere su defensa, debe
             presentar su repuesta por escrito, incluyendo el numero del caso y los numbres de las partes
             interesadas en dicho caso. Si usted no contesta la demanda a tiempo, pudiese perder el caso y
             podria ser despojado de sus ingresos y propiedades, o privado de sus derechos, sin previo aYiso
             del tribunal. Existen otros requisitos legales. Si lo desea, puede usted consultar a un abogado
             immediatamente. Si no conoce a un abogado, puede Hamar a una de las oficinas de asistencia
             legal que aparecen en la guia telefonica.

             Si desea responder a la demanda por su centa, al mismo tiempo en que presenta su respuesta ante
             el tribunal, debera usted inviar por correo o entregar una copia de su respuesta a la persona
             denurninada abajo como "Plaintifti'Plaintiff's Attorney." (Demandate o Abogado del
             Demanadante).

             "De acuerdo con el Acto o' Decreto de los Americanos con Impedimentos Inhabilitados,
             personas en necesidad del servicio especial para particpar en estee procedimiento deberan, dentro
             de un tiempo razonable, antes de cualquier procedimiento, ponerse en un tiempo razonable, antes
             de cualquier procedimiento, ponerse en contacto con la oficina Administrativa de la Corte,
             Telefono (TDD) 1-800-955-877 l o Voice (V) 1-800-955-8770, via Florida Relay Service.

             IMPORTANT

             Des poursuites judiciaries ont ete entreprises contre Yous. Yous avez 20 jours consecutifs a
             partir de la date de l'assignation de cet'te citation pour deposer une response ecrite a la plainte ci-
             jointe aupres de ce Tribunal. Un simple coup de telephone est insuffisant pour vous proteger'


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             vous etes oblige de deposer votre reponse ecrite, avec mention du numero de dossier ci-dessus et
             du nom des parties nommees ici, si vous souhaitez que le Tribunal entende votre cause. Si Yous
             ne deposez pas votre reponse ecrite dans le relai requis, vous risquez de perdre la cause ainsi que
             votre salaire, votre argent, et vos biens peuvent etre saisis par la suite, sans aucun preavis
             ulterieur du Tribunal. Tl y a d'autres obligations juridiques et vous pouvez requerir les services
             immediats d'un avocat. Si vous ne connaissez pas d'avocat, vous pourriez telephoner a un service
             de reference d'avocats ou a un bureau d'assistance juridique (figurant a l'annuaire de telephones).

             Si vous choisissez de deposer vous-meme une response ecrite, ii vous faudra egalement, en
             meme temps que cette formalite, faire parvenir ou expedier une copie au carbone ou une
             photocopie de votre reponse ecrite au "Plaintiff/Plaintiff's Attorney" (Plaignant ou a son avocat)
             nomme ci-dessous.

             En accordance avec la Loi des "Americans With Disabilities". Les personnes en besoin d'une
             accomodation speciale pour participer a ces procedures doivent, dans un temps raisonable, avant
             d'entreprendre aucune autre demarche, contracter l'office administrative de la Court situe au le
             telephone ou Telefono (TDD) 1-800-955-8771 ou Voice (V) 1-800-955-8770, via Florida Relay
             Service."

                                                DANIEL H HUNT, ESQ.
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                                                                   IN THE CIRCUIT COURT OF THE
                                                                   13TH JUDICIAL CIRCUIT IN AND FOR
                                                                   HILLSBOROUGH COUNTY, FLORIDA


             SARA FARDI,

                      Plaintiff,

             vs.                                                   Case No.:

             MENZIES AVIATION (USA) INC.,
             a Foreign Profit Corporation,

                    Defendant.
             ________________________________________/


                                                       SUMMONS

             To: MENZIES AVIATION (USA) INC., a Foreign Profit Corporation, through their
             registered agent CORPORATION SERVICE COMPANY:

                                                    MENZIES AVIATION (USA) INC.
                                                    1201 HAYS STREET
                                                    TALLAHASSEE, FL 32301-2525

             YOU ARE HEREBY SUMMONED and required to serve upon PLAINTIFF’S ATTORNEY

                                                    DANIEL H. HUNT, ESQ. (FBN 121247)
                                                    DHUNTLAW@GMAIL.COM
                                                    6'L[LH+Z\
                                                    MIAMI, FL 3356

             an answer to the complaint which is herewith served upon you, within 20 days after service of this
             summons upon you, exclusive of the day of service. If you fail to do so, judgment by default will be
             taken against you for the relief demanded in the complaint. You must also file your answer with the
             Clerk of this Court within a reasonable period of time after service.




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                               REQUESTS FOR ACCOMMODATIONS BY PERSONS
                                                 WITH DISABILITIES



             If you are a person with a disability who needs any accommodation in order to participate in this
             proceeding, you are entitled, at no cost to you, to the provision of certain assistance. Please
             contact the ADA Coordinator, 601 E. Kennedy Blvd., Tampa, FL 33602 Phone: (813) 276-8100,
             extension at least 7 days before your scheduled court appearance, or immediately upon receiving
             this notification if the time before the scheduled appearance is less than 7 days; if you are
             hearing or voice impaired, call 711.

             SPANISH: Si usted es una persona discapacitada que necesita algun tipo de adecuaci6n para
             poder participar de este procedimiento, usted tiene derecho a que se le ayude hasta cierto punto y
             sin costo alguno. Por favor comuniquese con ADA Coordinator, 601 E. Kennedy Blvd., Tampa,
             FL 33602 Phone: (813) 276-8100, extension 7039, al menos 7 dias antes de su fecha de
             comparecencia o inmediatamente despues de haber recibido esta notificaci6n si faltan menos de
             7 dias para su cita en el tribunal. Si tiene discapacidad auditiva o de habla, Bame al 711.

             KREYOL: Si ou se yon moun ki andikape epi ou bezwen nenpot akomodasyon pou ou ka
             patisipe nan pwose sa-a, ou gen dwa, san ou pa gen pou-ou peye anyen, pou yo ba-o yon seri de
             asistans. Tanpri kontakte ADA Coordinator, 601 E. Kennedy Blvd., Tampa, FL 33602 Phone:
             (813) 276-8100, extension 7039 omwen 7 jou alavans jou ou gen pou-ou paret nan tribunal-la,
             ouswa imedyatman kote ou resevwa notifikasyon-an si ke Ii mwens ke 7 jou; si ou soud ouswa
             hebe, rele 711.



             WITNESS my hand and the seal of said Court this __ day of ______, 2023




             (COURT SEAL)
                                                  _______________________________________
                                                  Deputy Clerk




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                                                        IMPORTANT

             A lawsuit has been filed against you. You have 20 calendar days after this summons is served on
             you to file a written response to the attached complaint with the clerk of this court. A phone call
             will not protect you. Your written response, including the case number given above and the
             names of the parties, must be filed if you want the court to hear your side of the case. If you do
             not file your response on time, you may lose the case, and your wages, money and property may
             thereafter be taken without further warning from the court. There are other legal requirements.
             You may want to call an attorney right away. If you do not know an attorney, you may call an
             attorney referral service or legal aid office (listed in the phone book).

             If you choose to file a written response yourself, at the same time you file your written response
             to the court you must also mail or take a copy of your written response to the "Plaintiff/Plaintiff's
             Attorney" named above.

                                                       IMPORTANTE

             Usted ha sido demandado legalmente. Tiene veinte (20) dias, contados a partir del recibo de esta
             notificacion, para contestar la demanda adjunta, por escrito, y presentarla ante este tribunal. Una
             Hamada telefonica no lo protegera; si usted desea que el tribunal considere su defensa, debe
             presentar su repuesta por escrito, incluyendo el numero del caso y los numbres de las partes
             interesadas en dicho caso. Si usted no contesta la demanda a tiempo, pudiese perder el caso y
             podria ser despojado de sus ingresos y propiedades, o privado de sus derechos, sin previo aYiso
             del tribunal. Existen otros requisitos legales. Si lo desea, puede usted consultar a un abogado
             immediatamente. Si no conoce a un abogado, puede Hamar a una de las oficinas de asistencia
             legal que aparecen en la guia telefonica.

             Si desea responder a la demanda por su centa, al mismo tiempo en que presenta su respuesta ante
             el tribunal, debera usted inviar por correo o entregar una copia de su respuesta a la persona
             denurninada abajo como "Plaintifti'Plaintiff's Attorney." (Demandate o Abogado del
             Demanadante).

             "De acuerdo con el Acto o' Decreto de los Americanos con Impedimentos Inhabilitados,
             personas en necesidad del servicio especial para particpar en estee procedimiento deberan, dentro
             de un tiempo razonable, antes de cualquier procedimiento, ponerse en un tiempo razonable, antes
             de cualquier procedimiento, ponerse en contacto con la oficina Administrativa de la Corte,
             Telefono (TDD) 1-800-955-877 l o Voice (V) 1-800-955-8770, via Florida Relay Service.

             IMPORTANT

             Des poursuites judiciaries ont ete entreprises contre Yous. Yous avez 20 jours consecutifs a
             partir de la date de l'assignation de cet'te citation pour deposer une response ecrite a la plainte ci-
             jointe aupres de ce Tribunal. Un simple coup de telephone est insuffisant pour vous proteger'


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             vous etes oblige de deposer votre reponse ecrite, avec mention du numero de dossier ci-dessus et
             du nom des parties nommees ici, si vous souhaitez que le Tribunal entende votre cause. Si Yous
             ne deposez pas votre reponse ecrite dans le relai requis, vous risquez de perdre la cause ainsi que
             votre salaire, votre argent, et vos biens peuvent etre saisis par la suite, sans aucun preavis
             ulterieur du Tribunal. Tl y a d'autres obligations juridiques et vous pouvez requerir les services
             immediats d'un avocat. Si vous ne connaissez pas d'avocat, vous pourriez telephoner a un service
             de reference d'avocats ou a un bureau d'assistance juridique (figurant a l'annuaire de telephones).

             Si vous choisissez de deposer vous-meme une response ecrite, ii vous faudra egalement, en
             meme temps que cette formalite, faire parvenir ou expedier une copie au carbone ou une
             photocopie de votre reponse ecrite au "Plaintiff/Plaintiff's Attorney" (Plaignant ou a son avocat)
             nomme ci-dessous.

             En accordance avec la Loi des "Americans With Disabilities". Les personnes en besoin d'une
             accomodation speciale pour participer a ces procedures doivent, dans un temps raisonable, avant
             d'entreprendre aucune autre demarche, contracter l'office administrative de la Court situe au le
             telephone ou Telefono (TDD) 1-800-955-8771 ou Voice (V) 1-800-955-8770, via Florida Relay
             Service."

                                                DANIEL H HUNT, ESQ.
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                                                  MIAMI, FL 3356




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